     Case: 1:16-cv-01931 Document #: 15 Filed: 08/08/16 Page 1 of 1 PageID #:73

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Taniesheia Harden
                             Plaintiff,
v.                                                Case No.: 1:16−cv−01931
                                                  Honorable Matthew F. Kennelly
Comcast
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 8, 2016:


        MINUTE entry before the Honorable Matthew F. Kennelly: Rule 16(b) status
hearing held on 8/8/2016 with attorneys for both sides. Plaintiff will make a settlement
demand within the next day or two. Telephone status hearing, to be initiated by the
parties, is set for 8/30/2016 at 8:45 a.m. The case is stayed under 11 USC 362 due to
plaintiff's filing of a Chapter 13 bankruptcy petition. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
